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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                                                              )
TELSEA GALBRAITH                                              )
     Plaintiff,                                               )
                                                              )
v.                                                            ) Civil Action No.
                                                              )
FESTIVA DEVELOPMENT GROUP, LLC                               )
dba KOSMAS GROUP INTERNATIONAL, INC.                         )
dba KOSMAS RESORTS                                            )
     Defendant,                                               )
                                                              )

                                         INTRODUCTION

1. This is an action for actual and statutory damages brought by Plaintiff, Telsea Galbraith

(hereinafter “Plaintiff”), an individual consumer, against Defendant’s violations of the law,

including, but not limited to, violations of Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (hereinafter “TCPA”), and also out of the invasions of Plaintiff’s personal privacy by

these Defendants and their agents in their illegal efforts in engaging in harassing and

unconsented phone calls to Plaintiff’s cell phone.

                                             PARTIES

2. Plaintiff is a consumer, a natural person allegedly obligated to pay any debt, and a citizen of

the United States of America who presently resides in the following County, in the following

state: Pinellas County, in the state of Florida.

3. Defendant, Festiva Development Group, LLC, dba Kosmas Group International, Inc., dba

Kosmas Resorts (hereinafter “Defendant”) is a company with its principal place of business

located in Orange County, in the state of Florida. It is engaged in operating resorts and offering

timeshares for vacationers.



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4. At all times relevant hereto, while conducting business in Florida, Defendants have been

subject to, and required to abide by, the laws of the United States and the State of Florida, which

include the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq., and its

related regulations that are set forth at 47 C.F.R. § 64.1200 (the “TCPA Regulations), as well as

the opinions, regulations and order issued by courts and the Federal Communication

Commission (“FCC”) implementing, interpreting and enforcing the TCPA and the TCPA

Regulations.

5. At all relevant times, Defendant acted through its duly authorized agents, employees, officers,

members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

                                         JURISDICTION

Jurisdiction is asserted pursuant to the following statutory authorities:

6. Jurisdiction of this court arises under 47 U.S.C. § 227 et seq., and 28 U.S.C. §§ 1331 and

1337. It also arises under 28 U.S.C. § 1367 for supplemental state claims.

7. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of

the events or omissions giving rise to the claim occurred here. Because Defendant transacts

business here, personal jurisdiction is established.

                                  FACTUAL ALLEGATIONS
Case background:

8. Herein, whenever Plaintiff alleges that Defendant either acted or failed to act in some manner,

it means that Plaintiff alleges that Defendant acted through one or more of their authorized

employees, representatives and/or agents.

9. Within one year prior to the filing of this complaint, Defendant placed harassing calls to

Plaintiff, through the usage of an auto-dialer, believably for the purpose of collecting a consumer

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debt from her; though she is not the person that it is looking for. Plaintiff is a ‘person’ as defined

by 47 U.S.C. § 153(10).

10. Defendants called Plaintiff using an automatic telephone dialing system (hereinafter “auto-

dialer”) as defined under 47 U.S.C. § 227 (a)(1)(A) and (B) on numerous occasions, without her

express consent, as she is not the true debtor it is looking for.

11. Defendant knowingly and/or willfully acted in the manner described above without

Plaintiff’s invitation or permission, as Plaintiff kept utilizing the opt-out feature that the pre-

recorded message offered to her to use whenever she picked up the phone when Defendant

would call. Plaintiff did this many times, yet Defendant continued to call her.

12. These telephone calls made by Defendant to Plaintiff were not for emergency purposes, yet

Defendant continued to call for Plaintiff despite her many attempts to get it to stop calling her

utilizing its automated telephone dialing machine.

13. As a result of the acts alleged above, Plaintiff suffered actual damages in the form of

emotional distress resulting in her feeling frustrated, amongst other negative emotions.

14. Defendant’s illegal and abusive conduct as more fully described above were the direct and

proximate cause of emotional distress on the part of Plaintiff, and was in violation of the TCPA,

namely including, but not limited to, 47 U.S.C. §§ 227 et seq.

                              FIRST CLAIM FOR RELIEF
                       AND SUPPORTING FACTUAL ALLEGATIONS

15. Plaintiff repeats, re-alleges, and incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

16. The foregoing acts and omissions of Defendant and its agents constitute numerous and

multiple violations of the TCPA including each and every one of the provisions of the TCPA, 47

U.S.C. § 227 et seq. with respect to Plaintiff.

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17. As a result of the foregoing violations of the TCPA, Defendant is liable to Plaintiff, for actual

damages pursuant to 47 U.S.C. § 227, statutory damages in an amount up to $500.00 for each

violation of the TCPA pursuant to 47 U.S.C. § 227, treble damages pursuant to 47 U.S.C. § 227,

and reasonable costs and attorney fees pursuant to 47 U.S.C. § 227, from Defendant herein.

                            SECOND CLAIM FOR RELIEF
                      AND SUPPORTING FACTUAL ALLEGATIONS

18. Plaintiff repeats, re-alleges, and incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

19. Congress explicitly recognized a consumer’s inherent right to privacy in collection matters in

passing the Telephone Consumer Protection Act, when it stated as part of its findings:

               In implementing the requirements of this subsection, the Commission may, by
               rule or order, exempt from the requirements of paragraph (1)(B) of this
               subsection, subject to such conditions as the Commission may prescribe such
               classes or categories of calls made for commercial purposes as the Commission
               determines will not adversely affect the privacy rights that this section is
               intended to protect[.]
               47 U.S.C. § 227(2)(B)(ii)(I) (emphasis added).

20. In enacting the TCPA, Congress sought to protect the privacy interests of telephone

subscribers and consumers, such as Plaintiff, and to place restrictions on unconsented telephone

calls, made both with and without the usage of an automatic telephone dialing machine, that are

not for emergency purposes and that are placed to individuals’ cell phones for commercial

purposes, by imposing obligations upon companies, such as Defendant, to not continue to place

any calls to a consumer, who it does not have the express consent to call and/or has told the

company such as Defendant not to call and/or that such calls would inconvenience them and/or

are prohibited, in violation of FCC regulations.

21. Congress further recognized a consumer’s right to privacy in financial data in passing the

Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for a broad

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range of “financial institutions” including companies that try to collect on debts, albeit without a

private right of action, when it stated as part of its purposes:

        It is the policy of the Congress that each financial institution has an affirmative
        and continuing obligation to respect the privacy of its customers and to protect the
        security and confidentiality of those customers’ nonpublic personal information.
        15 U.S.C. § 6801(a) (emphasis added).

22. Defendant and/or its agents intentionally and/or negligently interfered, physically or

otherwise, with the solitude, seclusion and/or private concerns or affairs of Plaintiff, namely, by

unlawfully continuing to attempt to contact Plaintiff, and thereby invaded Plaintiff’s privacy.

23. Defendant also intentionally and/or negligently interfered, physically or otherwise, with the

solitude, seclusion and/or private concerns or affairs of the Plaintiff, namely, by unlawfully

continuing to contact her on her cell phone without invitation and/or her express consent, or it

being for emergency purposes, after she gave it reason to know this would be unacceptable or

that such conduct would harass and/or annoy her, and thereby invaded Plaintiff’s right to

privacy.

24. Defendant and/or its agents intentionally and/or negligently caused emotional harm to

Plaintiff by engaging in highly offensive conduct in the course of trying to contact Plaintiff,

which amounted to conduct to intentionally and maliciously harass, inconvenience, bother,

frustrate, agitate, aggravate, and annoy Plaintiff, thereby invading and intruding upon Plaintiff’s

right to privacy.

25. Upon information and belief, Defendant and its agents had knowledge of the TCPA and

what is lawful action under that federal statute prior to calling Plaintiff, yet they continued to

contact her in an illegal manner.

26. Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, private

concerns and affairs.

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27. The conduct of this Defendant and its agents, in engaging in the above-described illegal

conduct against Plaintiff, resulted in an intrusion and invasion of privacy by this Defendant

which occurred in a way that would be highly offensive to a reasonable person in that position.

28. All acts of Defendant and the employees complained of herein were committed with malice,

intent and/or negligence, wantonness, and recklessness, and as such, Defendant is subject to

imposition of punitive damages.

29. As a result of such an intrusion and invasion of privacy, Defendant is liable to Plaintiff for

actual damages in an amount to be determined at trial from Defendant.

                                    REQUEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for the following:

A. Actual damages from Defendant pursuant to 47 U.S.C. § 227 et seq. for the emotional

distress suffered as a result of the intentional and/or negligent TCPA violations, and the invasion

of Plaintiff’s privacy by intrusion upon seclusion; in amounts to be determined at trial and for

Plaintiff.




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B. Trebled statutory damages from Defendant pursuant to 47 U.S.C. § 227 et seq.

C. Punitive damages.

D. For such other and further relief as the Court may deem just and proper.


                                              RESPECTFULLY SUBMITTED,

                                              By: /s/ Katie M. Stone
                                              Katie M. Stone
                                              Fla Bar No.: 74194
                                              Consumer Rights Law Firm
                                              5401 S. Kirkman Rd., Suite 310
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                                   DEMAND FOR JURY TRIAL
Please take notice that Plaintiff, Telsea Galbraith, hereby demands trial by jury in this action.




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